Case 1:18-cv-00494-WES-LDA Document 55 Filed 09/10/20 Page 1 of 4 PageID #: 3298




                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF RHODE ISLAND

     HOUSE OF BRANDS KJ PTY LTD.,

     Plaintiff,
                      v.                                             Case No.: 1:18-cv-00494-WES-LDA

     ALEX AND ANI, LLC, ALEX AND ANI
     SOUTH SEAS, LLC; and OMAR AJAJ,
     individually,

     Defendants.

                                SUBMISSION OF DESIGNATIONS AND OBJECTIONS
                                   FOR THE DEPOSITION OF STEPHEN GILES

            Plaintiff House of Brands KJ Pty. Ltd (“House of Brands”) hereby re-submits the parties’

 affirmative and counter designations of the deposition testimony of Stephen Giles,1 as well as the

 parties’ objections thereto.2 As further described below, House of Brands has provided two

 versions of the designations and objections (attached Exhibits A and B).

                 Exhibit A are the parties’ affirmative and counter designations, which were timely

                  disclosed pursuant to the parties’ agreed deadlines for exchanging designations and

                  objections.

                 Exhibit B are the parties’ affirmative and counter designations, which includes

                  additional designations that were untimely submitted by Defendants. House of Brands

                  objects to Defendants’ additional untimely designations included in Exhibit B.


 1
   House of Brands is contemplating calling one of Defendant Alex and Ani’s corporate representatives, Rebecca Vota,
 live or by deposition depending on how the trial goes. If House of Brands decides to use deposition designations, it
 will be a very limited amount that the Court will be able to efficiently handle at trial. House of Brands therefore does
 not think it will be necessary to re-submit the designations for this witness. The select designations that House of
 Brands may use for this witness were included in the Joint Submission of Deposition Designations and Objections
 (ECF No. 52) (“Joint Submission”).
 2
   One point of clarification for designations identified as “Plaintiff’s Rule 106 designations”: these are optional
 completeness designations based upon Plaintiff’s objections to Defendants’ affirmative designations, and should only
 be permitted to the extent the Court permits Defendants’ related affirmative designations.



                                                                                                                 Page 1
Case 1:18-cv-00494-WES-LDA Document 55 Filed 09/10/20 Page 2 of 4 PageID #: 3299




        Following the Court’s June 23, 2020 Text Order, the parties agreed upon a specific

 schedule for exchanging affirmative and counter deposition designations to give the parties

 sufficient opportunity to review the designations and assert objections prior to the Court’s deadline

 for the joint submission of deposition designations on September 8, 2020. After exchanging

 designations and objections by the agreed deadlines, House of Brands combined its designations

 and objections with a copy of Defendants’ designations and objections, thereby creating the Joint

 Submission (ECF No. 52). House of Brands provided a draft Joint Submission to Defendants on

 the evening of September 7, 2020, and requested that Defendants inform House of Brands of any

 errors prior to House of Brands filing the submission the following morning before the pre-trial

 conference. Having received no response, House of Brands filed the Joint Submission the

 following morning.

        In the evening after the pre-trial conference, Defendants indicated that they did not consent

 to the Joint Submission, and provided House of Brands with additional designations (as indicated

 in Exhibit B) for the deposition of Mr. Giles. They also indicated that they may add or change

 designations for other depositions as well.

        House of Brands objects to Defendants’ additional designations of Mr. Giles’ deposition

 testimony, and any other additional designations Defendants provide prior to trial. Such additional

 designations at this stage are improper, as it unfairly forces House of Brands to assert new

 objections and counter designations, just days before trial and after the Court’s deadline for same

 has expired.




                                                                                               Page 2
Case 1:18-cv-00494-WES-LDA Document 55 Filed 09/10/20 Page 3 of 4 PageID #: 3300




 Dated: September 10, 2020

                                     Respectfully submitted,

                                     /s/ Robert G. Flanders, Jr.
                                     Robert G. Flanders, Jr. (#1785)
                                     Timothy K. Baldwin (#7889)
                                     Whelan Corrente & Flanders LLP
                                     100 Westminster Street, Suite 710
                                     Providence, RI 02903
                                     Tel: (401) 270-4500
                                     Fax: (401) 270-3760
                                     RFlanders@whelancorrente.com
                                     TBaldwin@whelancorrente.com

                                     Richard S. Krumholz
                                     (admitted pro hac vice)
                                     Joseph D. Piorkowski
                                     (admitted pro hac vice)
                                     Norton Rose Fulbright US LLP
                                     2200 Ross Avenue, Suite 3600
                                     Dallas, TX 75201
                                     Tel: (214) 855-8000
                                     Fax: (214) 855-8200
                                     richard.krumholz@nortonrosefulbright.com
                                     joseph.piorkowski@nortonrosefulbright.com

                                     Counsel for House of Brands KJ Pty Ltd.




                                                                                 Page 3
Case 1:18-cv-00494-WES-LDA Document 55 Filed 09/10/20 Page 4 of 4 PageID #: 3301




                                    CERTIFICATE OF SERVICE

        I hereby certify that on September 10, 2020, a copy of the foregoing document was filed

 electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

 will be sent by e-mail to all parties by operation of the Court’s electronic filing as indicated on the

 Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                /s/ Robert G. Flanders, Jr.
                                                Robert G. Flanders, Jr.




                                                                                                 Page 4
